       Case 2:24-cv-07759-EP-JRA                        Document 1-3                 Filed 07/12/24     Page 1 of 1 PageID: 10




$2$ 5HY NJ 04/2024) 2UGHUWR3URFHHG:LWKRXW3UHSD\LQJ)HHVRU&RVWV


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     JOSHUA A. JOHNSON
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                   3ODLQWLII V                                                    &LYLO$FWLRQ1R 2:24-cv-07759-EP-JRA
       
                   v.
                                                                                          ORDER ON APPLICATION
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      SUPERIOR  COURT OF NEW JERSEY et al
                                                                                           TO PROCEED WITHOUT
                   'HIHQGDQW V 
                                                                                             PAYMENT OF FEES
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         ☐            GRANTED. The clerk is ordered to file the complaint.
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                                                           Honorable Evelyn Padin
                                                           United States District Judge
                                                 
